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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                      The Silvio J Mo llo Building
                                                      One Saint Andrew 's Pla=a
                                                      New York, New York 10007


                                                      October 5, 2023

BYECF

The Honorable Sidney H. Stein
                                                                         MEMO ENDORSED
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

         Re:      United States v. Robert Menendez, et. al,
                  23 Cr. 490 (SHS)

Dear Judge Stein:

        At the October 2, 2023 initial pretrial conference in the above-captioned matter, the
Government advised the Court that the Government anticipates that there is likely to be classified
discovery and/or litigation pursuant to the Classified Information Procedures Act ("CIPA"). In
response, the Court invited the Government to provide additional information in an appropriate
manner. The Government now respectfully writes to request that the Court hold an ex parte, sealed
conference under Section 2 of CIPA to allow the Government to provide the Court with additional
information on the anticipated classified discovery and/or motion practice that may arise in this
matter. The Government proposes holding such a conference on Tuesday, October 24, 2023, at
11 :30 am, a date and time that the Government understands works for the Court, and with the
assistance of the Classified Information Security Officer, whom the Court recently appointed. For
the Court' s reference, and in anticipation of the Section 2 conference, this letter also provides
general information about certain procedures under CIPA.

   I.          Overview of CIPA

        CIP A governs the discovery of classified information in federal criminal cases. See United
States v. Abu-Jihaad, 630 F.3d 102, 140-41 (2d Cir. 2010). Congress enacted CIPA to enable the
Government to fulfill its duty to protect national security information while simultaneously
complying with its discovery obligations in federal criminal prosecutions. See S. Rep. No. 96-
823, 96th Cong. , 2d Sess., at 3 (1980), reprinted in 1980 U.S.C.C.A.N. 4294, 4296; see also United
States v. Pappas, 94 F.3d 795 , 799 (2d Cir. 1996) (CIPA ' s purpose is to "harmonize a defendant' s
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right to obtain and present exculpatory material upon his trial and the government's right to protect
classified material in the national interest" (internal quotation marks and citation omitted)); United
States v. Rezaq, 134 F.3d 1121 , 1142 (D.C. Cir. 1998) ("When classified materials may be relevant
to criminal proceedings, [CIP A] provides procedures designed to protect the rights of the
defendant while minimizing the harm to national security.").

         CIPA does not change the Government' s discovery obligations and does not alter a
defendant's substantive rights or the rules of evidence. See United States v. Yunis , 867 F.2d 617,
621 (D.C . Cir. 1989); United States v. Anderson, 872 F.2d 1508, 1514 (11th Cir. 1989). Rather,
CIPA creates a procedural framework that permits the Court to rule, before trial, on questions
related to classified materials. The Supreme Court has acknowledged the importance of protecting
the nation ' s secrets from disclosure, stating that "[t]he Government has a compelling interest in
protecting both the secrecy of information important to our national security and the appearance
of confidentiality so essential to the effective operation of our foreign intelligence service." CIA
v. Sims , 471 U.S. 159, 175 (1985) (internal quotation marks and citation omitted). This framework
helps to prevent unnecessary or inadvertent disclosures of classified information and allows the
Government to assess the national security "costs" associated with pursuing a certain course in its
criminal prosecution. See, e.g. , Anderson, 872 F.2d at 1514; United States v. Collins, 720 F.2d
1195, 1197 (11th Cir. 1983) (the "straightforward and clear" purpose of CIPA " is to provide
procedures under which the government may be made aware, prior to trial , of the classified
information, if any, which will be compromised by the prosecution").

    II.    Pretrial Conference Pursuant to CIPA Section 2

        As relevant here, Section 2 of CIPA provides that upon a party ' s motion, the court "shall
promptly hold a pretrial conference" to consider matters relating to classified information,
including the timing ofrequests for discovery, the provision of the requisite written pretrial notice
by the defense to the Government, pursuant to Section 5 of CIP A, of the defendant's intent to
disclose classified information, and any other matters that may promote a fair and expeditious trial.
18 U.S .C. App. 3 § 2. No substantive issues concerning the use of classified information are to be
decided in a Section 2 pretrial conference. See S. Rep. No 96-823, at 5-6 (1980), reprinted in 1980
U.S.C.C.A.N. 4294, 4299 .

        In this district, courts may and generally do conduct Section 2 conferences ex parte so that
the Government can freely discuss the substance of classified information that may be at issue in
anticipated CIPA litigation or be relevant to the prosecution, and to which a defendant does not
have a right. See, e.g. , United States v. Hossain, No. 19 Cr. 606 (SHS), 2023 WL 3001464, at * 1
(S.D.N.Y. Apr. 19, 2023) (noting that the Court held ex parte Section 2 hearings with both the
Government and defense counsel); United States v. Saipov, No. 17 Cr. 722 (VSB), 2019 WL
5558214, at *2-3 (S .D.N.Y. Oct. 29, 2019) (discussing ex parte Section 2 conferences held in that
case, and rejecting the argument that it was improper to hold ex parte conferences more generally) ;
United States v. Balouchzehi, No. 21 Cr. 658 (JMF) (S.D.N.Y. Nov. 11 , 2022) (Dkt. 32) (granting
the Government's request to hold a classified ex parte proceeding pursuant to CIPA Section 2);
see also United States v. Klimavicius-Viloria, 144 F.3d 1249, 1261 (9th Cir. 1998) (" In a case
involving classified documents . .. ex parte, in camera hearings in which government counsel
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participates to the exclusion of defense counsel are part of the process that the district court may
use in order to decide the relevancy of the information.").

       Here, at the requested Section 2 conference, the Government expects to provide the Court
with further information regarding classified discovery and/or CIP A motion practice in this case,
and to answer any questions that the Court may have. The Government will also be prepared to
provide the Court with a proposed schedule for any CIP A motions.

                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

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cc:    (by ECF)

       Counsel of Record

       (by email)

       Harry J. Rucker, Classified Information Security Officer




The conference will be held on Tuesday, October 24, 2023, at 11:30 a.m.

Dated: New York, New York
       October 5, 2023
